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                                                                   *E-FILED *

                              CRIMINAL MINUTE ORDER


JUDGE: Ronald M. Whyte                        REPORTER: Lee-Anne Shortridge

DATE: June 7, 2010                           TIME: 9:00 am     (Time: 1hr. & 15 mins.)

CRIMINAL NO.: CR-09-00263-RMW

TITLE: UNITED STATES OF AMERICA              -v- JOSEPH BUDDENBERG, MARYAM
     APPEARANCES:                                KHAJAVI, NATHAN POPE &
                                                  ADRIANA STUMPO        (P)


PLTF: AUSA: E. Becker & G. Fondo       DEFT: B. Bloom, T. Serra, J. McNair Thompson,
                                              T. Nolan & E. Bradford

COURT ACTION: DEFENDANT’S MOTION TO SUPPRESS EVIDENCE’ MOTION TO
DISMISS; MOTION FOR DETERMINATION ON SCOPE OF RELEVANT EVIDENCE AT
TRIAL AND PROPOSED JURY INSTRUCTIONS; MOTION FOR
                 AN AMENDED BILL OF PARTICULAR

Hearing Held. The Court heard oral argument from the parties and took the matter under

submission. The Court continued this matter to 7/19/10 @ 10:00 AM for a Status Hearing.

The Court excluded time based on the number of pending motions to 7/19/10. Government

to prepare exclusion order.




                                               /s/ Jackie Garcia
                                                  JACKIE GARCIA
                                                 Courtroom Deputy
